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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


 United States of America,

 v.                                      Case No. 1:21-cr-328-MLB

 Brian Sperber,

                         Defendant.

 ________________________________/

                           OPINION & ORDER

       During a civil and criminal investigation of Defendant Brian

Sperber, the United States seized a waterfront mansion Defendant had

previously purchased. The United States later sold the property and held

the proceeds as substitute res. Defendant (currently represented by the

Federal Defender Program) says he used some legitimate income to

purchase the property and needs that money to hire a lawyer. The Court

concludes Defendant is entitled to recover $1,000,000.00 from the

proceeds of the sale of the house.

I.     Background Facts

       In March 2021, the United States filed a civil forfeiture action to

seize a mansion Defendant and his wife owned in Boca Raton, Florida.
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(See United States v. Real Property Located at 311 East Key Palm Road,

1:21-cv-1008, Dkt. 1.) The United States alleged Defendant (working

with a co-defendant) fraudulently represented to several companies that

he had personal protective equipment (“PPE”) to sell and then used false

invoices, documents, purchase orders, and wire confirmations to trick

those companies into sending him nearly $13 million. (Id. at ¶¶ 12–77.)

Despite receiving the money, Defendant never delivered the PPE. (Id.)

The United States said that, during the course of the illegal conspiracy,

Defendant—through a company his wife owned called Roses Ark LLC—

bought the Boca Raton mansion for about $10 million, which included a

down payment of nearly $5 million. (Id. at ¶¶ 3, 16, 62.) The United

States alleged its investigation “revealed that approximately $4.3 million

of the down payment was funded by proceeds of [Defendant’s] fraudulent

schemes[.]” (Id. at ¶ 63.)

     The United States and Roses Ark later agreed to have the property

liquidated. (Id.; Case No. 21-cv-1008, Dkts. 22, 26.) It sold for $12.1

million.   The United States satisfied the outstanding mortgage but

continued holding the remaining money (totaling $4,915,704.39) as

substitute res for the property. (Id.; Case No. 21-cv-1008, Dkts. 23, 30,


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37.)

        In August 2021, the United States obtained an indictment against

Defendant, charging him with conspiracy, money laundering, and wire

fraud. (Dkt. 1.) The indictment alleges the same fraudulent conduct as

the civil forfeiture action, specifically that Defendant “defrauded

prospective PPE purchasers out of more than $12 million, much of which

he used for his own personal benefit, which included purchasing” the

Boca Raton property. (Dkt. 1 at ¶ 9.) The indictment says Defendant

used “over $5.3 million of Victim B’s funds to purchase” the property.

(Dkt. 1 at ¶ 19.) The United States later identified Victim B as LHP

Pharma, Inc. (Dkt. 118 at 18:25–19:4.) The indictment identifies the

$4.9 million in substitute res from the sale of the property as subject to

forfeiture as either proceeds of Defendant’s fraudulent scheme, property

involved in the money laundering offense, or property traceable to such

property. (Dkt. 1 at ¶¶ 39–40.) The United States seeks forfeiture of that

money pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and 18

U.S.C. § 982(a)(1). (Dkt. 1 at ¶ 39.) The United States and Roses Ark

decided—with court approval—to stay the civil forfeiture case and

proceed with forfeiture pursuant only to the indictment. (Dkt. 57 at 5:12–


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21.)

        Defendant was arraigned on August 31, 2021. (Dkt. 4.) The same

day, Magistrate Judge Anand appointed the Federal Defender to

represent Defendant, concluding Defendant “has testified under oath or

has filed with the Court an affidavit of financial status and hereby

satisfied this Court that he . . . is financially unable to employ counsel.”

(Dkt. 6.) Defendant later filed a motion to hire counsel of choice (Dkt. 23)

and a motion to release seized funds (Dkt. 24).            Magistrate Judge

Vineyard allowed Defendant to perfect his motion to release seized funds,

explaining Defendant “was required to make a preliminary showing that

he is financially unable to hire counsel from resources other than the

seized property and that he is entitled to a pretrial hearing regarding the

restrained property because it was improperly seized.”             (Dkt. 26.)

Defendant filed an amended motion, along with an unsworn “Monthly

Cash Flow Statement” and “Net Worth Statement.” (Dkts. 30, 31.)

        In his amended motion, Defendant moved for the release of

approximately $700,000, saying that money was not part of the illegal

activity. (Dkt. 30 at 1, 4.) He argued he was entitled to a pretrial hearing

at which the United States would “have the burden of showing by


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competent evidence that the funds seized are traceable to criminal

conduct.” (Dkt. 30 at 7.) The United States countered that Defendant

“failed to meet his threshold burden of adequately demonstrating his

inability to afford his counsel of choice” and was therefore “not entitled

to a tracing hearing.” (Dkt. 37 at 7.)

     The Magistrate Judge issued a Report and Recommendation,

saying this Court should deny Defendant’s motion.          (Dkt. 39.)     The

Magistrate Judge concluded Defendant’s documents were insufficient to

establish financial need because they were not “signed under oath.” (Dkt.

39 at 12.) The Magistrate Judge explained that, even if he had credited

“the limited financial information provided by [Defendant]” and found

“that he has demonstrated that he does not have the financial resources

to hire his counsel of choice,” Defendants’ motion would still fail because

Defendant “has not satisfied the standard for obtaining a hearing.” (Dkt.

39 at 15.) Specifically, the Magistrate Judge found that “even if $700,000

of the funds used to make the down payment were, in fact, untainted, the

entire substitute res . . . remains subject to forfeiture because those funds

allegedly were involved in the money laundering transaction regarding

the purchase of the Boca Raton property, as charged in the indictment.”


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(Dkt. 39 at 16.) The Magistrate Judge also enumerated two other reasons

that warranted against a hearing: (1) after being notified of the forfeiture

action, only Roses Ark (and not Defendant) filed a verified claim to the

property, showing Defendant was trying to “distanc[e] himself from any

interest in the [] seized funds,” and (2) Defendant did not demonstrate

prejudice because “he has not made a sufficient showing that the

substitute res has been unlawfully restrained.” (Dkt. 39 at 20–24.)

     Defendant filed objections. (Dkt. 43.) He says the Magistrate Judge

misapplied the law and “failed to consider the evidence presented” in his

filings. (Dkt. 43 at 6.) Specifically, he contends (1) Supreme Court

precedent applying the Sixth Amendment required the Magistrate Judge

to release untainted funds and (2) the Magistrate Judge ignored financial

documents he submitted showing he does not have the financial ability

to hire counsel without the seized funds. (Dkt. 43 at 6–15.) In response,

the United States argues the Magistrate Judge was right in finding “the

‘$700,000 portion of the down payment was commingled with the fraud

proceeds in the money laundering transaction,’ and, therefore, ‘the entire

substitute res is subject to forfeiture,’ pursuant to 18 U.S.C. § 982(a)(1).”

(Dkt. 48 at 2.) It also contends the Magistrate Judge was right to find


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Defendant’s financial documents were insufficient. (Dkt. 48 at 3–4.)

II.    Discussion1

       Pre-trial   restraint   of   a   criminal   defendant’s    assets    is

constitutionally permissible “whenever there is probable cause . . . to

think (1) that the defendant has committed an offense permitting

forfeiture, and (2) that the property at issue has the requisite connection

to that crime.” Kaley v. United States (Kaley II), 571 U.S. 320, 323–34

(2014). Property seized by the United States that is “not loot, contraband,

or otherwise ‘tainted’” belongs to the defendant, “pure and simple.” Luis

v. United States, 578 U.S. 5, 12–13 (2016). And “the pretrial restraint of

legitimate, untainted assets” that a defendant needs “to retain counsel of

choice violates the Sixth Amendment.” Id. at 10. A defendant may—in



1 Courts review de novo “those portions of [an R&R] to which an objection

is made.” 28 U.S.C. § 636(b)(1). “It does not appear that Congress
intended to require district court review of a magistrate’s factual or legal
conclusions, under a de novo or any other standard, when neither party
objects to those findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985). And,
in most cases, “[a] party failing to object to [an R&R] waives the right to
challenge on appeal the district court’s order based on unobjected-to
factual and legal conclusions.” McGriff v. Comm’r, Soc. Sec. Admin., 654
F. App’x 469, 472 (11th Cir. 2016). Since the R&R, the parties have
engaged in extensive briefing and the Court has held multiple
evidentiary hearings. The Court thus reviews Defendant’s motion to
release funds de novo without regard to Defendant’s specific objections.

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limited instances—obtain a hearing to challenge the pretrial restraint of

assets. To be entitled to a tracing hearing, a defendant must (1) show “a

bona fide need to utilize seized assets to conduct his [or her] defense,” and

(2) “make a prima facie showing that some portion of the assets is not

traceable to the commission of the offenses alleged.” United States v.

Sachy, 2022 WL 17177262, at *2 (M.D. Ga. Nov. 23, 2022) (quoting

United States v. Farmer, 274 F.3d 800, 804 (4th Cir. 2001), and United

States v. Jones, 160 F.3d 641, 647 (10th Cir. 1998)).        In addition, a

defendant must also satisfy “the balancing test enunciated in” Barker v.

Wingo, 407 U.S. 514 (1972). United States v. Kaley (Kaley I), 579 F.3d

1246, 1252 (11th Cir. 2009). This requires the Court to consider (1) the

length of the delay before the defendant receives a post-restraint hearing;

(2) the reason for any delay; (3) the defendant’s assertion of his or her

right to a hearing; and (4) any prejudice the defendant suffered due to

the delay weighed against the strength of the United States’s interest in

the subject property. Id. at 1254.

     A defendant who satisfies these initial burdens is entitled to a

hearing to litigate “whether probable cause exists to believe that the

assets in dispute are traceable or otherwise sufficiently related to the


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crime charged in the indictment.” Kaley II, 571 U.S. at 324; United States

v. Gosney, 2023 WL 1434183, at *4 (11th Cir. Feb. 1, 2023) (explaining

the grand jury’s determination regarding the tracing of assets “may be

challenged before trial”). Such a defendant may not relitigate the grand

jury’s finding of probable cause that the defendant committed a crime.

Id. at 328–29; see also Kaley I, 579 F.3d 1246 at 1257 (“The purpose of

the hearing [is not] to determine guilt or innocence but, rather, to

determine the propriety of the seizure.”). A defendant has “the burden of

proof to determine the propriety of the seizure.”        United States v.

Hernandez-Gonzalez, 2017 WL 2954676, at *5 (S.D. Fla. June 26, 2017)

(emphasis omitted) (citing Kaley I, 579 F.3d at 1257). This means the

defendant must convince the court there was no probable cause to believe

“the assets in dispute are traceable or otherwise sufficiently related to

the crime charged in the indictment.” Kaley II, 571 U.S. at 324; see also

Kaley I, 579 F.3d at 1257 (it is defendant’s burden to show “assets

described in the forfeiture count of the indictment were wrongfully

seized”).

            1.   Defendant Established His Right to a Pretrial
                 Hearing

      The Court scheduled a hearing on Defendant’s objections to the

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R&R for August 15, 2022.         (Dkt. 49.)    The United States argued

Defendant had not sufficiently shown a financial need for the restrained

assets to hire counsel of choice despite him having received a Federal

Defender. (Dkt. 57 at 16:7–19.) Defendant countered that he provided

sufficient information to the Court to show he “did not have sufficient

assets or funds to provide or to pay to retain counsel,” particularly given

that he “was appointed counsel” for this case. (Dkt. 57 at 33:11–19.)

Specifically, he emphasized that he “previously provided a sworn

statement of his financial information and . . . a more current statement

of his financial situation” but offered to provide “another affidavit that is

more complete, that is sworn to and notarized.” (Dkt. 57 at 37:20–24,

39:6–8.) He also said he “provided bona fide evidence to call into question

the trace of [the seized] money, given” the discrepancy between “the civil

forfeiture complaint that was filed” and the indictment. (Dkt. 57 at

32:21–33:1.) He argued that “at a hearing, the government . . . will have

an opportunity to present evidence to explain this tracing of the funds,”

but that “at a minimum, [he had] presented evidence that should entitle

[him] to a hearing on this issue.” (Dkt. 57 at 33:2–6.)

     The Court gave Defendant 15 days to file yet another sworn


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financial affidavit—addressing the deficiencies identified by the

Magistrate Judge. (Dkt. 57 at 14–19.) Defendant did so, filing a signed

affidavit that included a cash flow statement, a net worth statement,

numerous bank statements, and investment and tax documents. (Dkt.

53.) Upon review of that (and recognizing Defendant was appointed a

Federal Defender), the Court concluded Defendant was entitled to a

tracing hearing because he needs the seized assets to hire a lawyer. (Dkt.

54.)

       The Court further explained its reasoning at the subsequent

hearing. The Court noted Defendant’s ex parte filing “essentially shows

that he has no assets, no other accounts or things of that nature.” (Dkt.

118 at 2:23-3:4-9.) The Court also recognized Defendant presented prima

facie evidence that at least some portion of the down payment for the

property was made using untainted funds—specifically, by pointing to

the original forfeiture complaint, in which the United States claimed only

$4.3 million of tainted money was used as part of a $5 million down

payment. (Id. at 5:3-22.)

       The Court also explained the four Barker factors favored

Defendant. (Dkt. 118 at 7:2–7.) The Court agreed with the Magistrate


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Judge’s conclusion that “the approximately one-year delay since” the

United States’s civil forfeiture action “could support reaching the other

[Barker] factors.” (Dkt. 39 at 20 (citing United States v. Dunn, 345 F.3d

1285, 1296 (11th Cir. 2003) (“A delay is considered presumptively

prejudicial as it approaches one year.”)).) The Court also agreed with the

Magistrate Judge’s observation that the “reason for the delay and

[Defendant’s] assertion of his rights are somewhat intertwined.” (Dkt.

39 at 20.) But the Court concluded the Magistrate Judge was wrong in

finding these factors “do not weigh in favor of granting a hearing.” (Dkt.

118 at 6:6-7:7.) Defendant moved to release untainted portions of the

seized assets a little over four months after he was indicted—a

reasonable period of time. (Id.) In holding otherwise, the Magistrate

Judge pointed out that Defendant did not file a claim to the assets in the

civil forfeiture action, and instead “only Roses Ark claimed ownership.”

(Dkt. 39 at 21.) But, as the Court explained at the evidentiary hearing,

“it’s not hard to imagine that somebody who faces a civil proceeding

might not assert their own claims, . . . but once they come under

indictment themselves,” would—like Defendant—“quickly assert[] his

right.”   (Dkt. 118 at 6:15–7:7.)   So, while the year-long delay may


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technically be attributable in part to Defendant, the Court found this

“fairly unique situation” warranted in favor of a hearing. (Dkt. 118 at

7:2–7.)

     While the Court did not discuss its prior determination that the

final factor also weighs in Defendant’s favor, the Court now explains that

the seizure obviously prejudiced Defendant by preventing him from

hiring counsel of his choice. In reaching the opposite conclusion as to this

factor, the Magistrate Judge found Defendant did not make a “sufficient

showing that the substitute res has been unlawfully restrained” because

he did not refute the United States’s position that all the assets were

forfeitable as involved in Defendant’s alleged money laundering. (Dkt.

39 at 23.) But the Magistrate Judge did not explain why he concluded all

the funds were purportedly involved in money laundering.2 And the


2 Despite the prejudice prong being the “most searching” of the Barker

factors, the Magistrate Judge gave its consideration short shrift. United
States v. Gosney, 2022 WL 18542509, at *6 (S.D. Fla. June 10, 2022),
aff’d, 2023 WL 1434183 (11th Cir. Feb. 1, 2023); see also Kaley I, 579 F.3d
at 1258 (instructing courts to pay special attention to the prejudice
factor). The Magistrate Judge simply concluded Defendant was not
prejudiced because he could not show the money he wanted returned was
not tied to the charged money laundering offenses. But the entire
purpose of a tracing hearing is to allow the defendant to do just that—
put on evidence to prove the restrained assets are not related to the
charged crimes. Under the Magistrate Judge’s view, a defendant could
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United States’s only argument on that front was that Defendant

commingled untainted funds with tainted ones. As discussed below, that

is not enough.    The Court also concludes the United States has not

presented evidence of any prejudice to its interests from having the

hearing.3

            2.   The Court Held Evidentiary Hearings.

      The Court held the evidentiary hearing on September 26, 2022. The

United States presented testimony from FBI Special Agent Steve

Ryskoski (an investigator on Defendant’s case).        He introduced and


almost never show prejudice sufficient to warrant a tracing hearing, or
at least not so long as a defendant needed evidence to do so. As noted,
Defendant made a prima facie showing that the at least some portion of
the substitute res was illegally restrained. And his argument was not
based on “a challenge to the reliability and competence of the underlying
allegations of a fraudulent scheme in the indictment” but instead to an
inconsistency between the indictment and the United States’s initial
forfeiture complaint. See Gosney, 2023 WL 1434183, at *5 (affirming
district court’s conclusion there was no prejudice sufficient to warrant a
tracing hearing because defendant’s only argument that assets were
unlawfully restrained was that he did not commit indicted crimes).
3 Shortly after the hearing, the United States issued a superseding
indictment, saying Defendant used “millions of dollars” from LHP Pharm
to purchase the Boca Raton property rather than “$5.3 million” as alleged
in the original indictment. (Dkt. 58 at ¶ 19.) The superseding indictment
still identifies the substitute res as subject to forfeiture. (Dkt. 58 at
¶ 39(b).) So the superseding indictment changes none of the issues
currently before the Court.

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testified about a spreadsheet summarizing—among other things—the

inflow and outflow of cash from two bank accounts in the names of

companies owned by Defendant (Ark Medical Solutions, LLC and A Rose

RE, LLC) (Dkt. 71-3) and a “Payment Timeline” showing when those

various deposits and expenses were made (Dkt. 71-4). This showed the

flow of money into the down payment for the Boca Raton property.

Defendant similarly presented a timeline of deposits and withdrawals

from the two accounts. (Dkts. 95-1; 95-2.)

     About a month after the hearing, Defendant asked the Court to re-

open the evidence and hold a second hearing so he could present

additional evidence. (Dkt. 83.) The Court granted that motion. (Dkt.

84.) At the second hearing, Defendant presented testimony from a former

business colleague about a transaction he allegedly conducted with

Defendant during the relevant time period. (Dkt. 91.) The parties filed

post-hearing briefs. (Dkts. 95; 100.) The Court then held a third hearing

to permit the parties to argue their respective positions as informed by

the evidentiary hearings and their competing briefs. (Dkt. 121; 123.)

     B.    Analysis

     In Counts One through Five of the Superseding Indictment, the


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United States charged Defendant with wire fraud and conspiracy to

commit wire fraud. (Dkt. 58 at 10-12.) As a result, the United States

may obtain forfeiture of “[a]ny property, real or personal, which

constitutes or is derived from proceeds traceable to” such those offenses.

See 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). The United States

contends the money from the sale of the Boca Raton property is

forfeitable under these provisions. (Dkt. 58 at ¶ 39.) In Counts Six

through Ten, the United States also charged Defendant with money

laundering offenses, allowing it to seek forfeiture of “any property, real

or personal, involved in such offense, or any property traceable to such

property.” See 18 U.S.C. § 982(a)(1). (Dkt. 58 at 12-17.) The United

States contends the money from the sale of the Boca Raton property is

also forfeitable under this provision. (Dkt. 58 at ¶ 40.) So, the Court now

considers whether—having had an evidentiary hearing—Defendant has

shown the absence of probable cause for forfeiture of some or all of the

substitute res by showing that some amount of money included in the

purchase of the Boca Raton property (and thus part of the substitute res)

was (1) not the proceeds of the wire fraud offense and (2) not involved in

the money laundering offenses or traceable to property involved in those


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offenses.   In his post-hearing briefing, Defendant references three

transactions he claims involved legitimate proceeds that went towards

the purchase of the Boca Raton property: (1) $1.5 million that one of his

companies received from LHP Pharma (2) $179,985 that another one of

his companies received from a customer identified as M. House Pty. and

(3) $117,570 that one of his companies allegedly received from a customer

known as Texas Private Wealth, LLC. (Dkt. 95 at 7–8.)

            1.   “Proceeds” Theory of Forfeiture

     Property is forfeitable as proceeds if it is “derived from” or

“traceable to” the underlying charged offense. 18 U.S.C. § 981(a)(1)(C).4

Courts use a “but for” test in determining whether property so qualifies.

See United States v. Hoffman-Vaile, 568 F.3d 1335, 1344 (11th Cir. 2009).

In other words, “property ‘traceable to’ means property where the

acquisition is attributable to the [alleged] scheme rather than from

money obtained from untainted sources.” United States v. Bornfield, 145




4 Although § 981(a)(1)(C) deals with civil forfeiture, 28 U.S.C. § 2461(c)

authorizes criminal forfeiture based on civil forfeiture statutes for certain
offenses, including wire fraud that does not affect a financial institution.
The United States cites this Title 28 statute in the indictment. (Dkt. 58
at ¶ 39.)

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F.3d 1123, 1135 (10th Cir. 1998) (citing United States v. Voigt, 89 F.3d

1050, 1084–87 (3d Cir. 1996)); see also 18 U.S.C. § 981(a)(2)(A) (defining

proceeds as “property of any kind obtained directly or indirectly, as the

result of the commission of the offense giving rise to forfeiture, and any

property traceable thereto”). “[O]nly funds used in or traceable to the

illegal activity are subject to forfeiture, and not any commingled

legitimate funds used in facilitating the scheme.” United States v. United

States Currency Deposited in Account No. 1115000763247, 176 F.3d 941,

946 (7th Cir. 1999).

                 a)    LHP Pharma, Inc.

     At the evidentiary hearing, Special Agent Ryskoski testified that

Defendant (and perhaps his coconspirator) defrauded LHP Pharma of

more than $10 million as part of the wire fraud and money laundering

schemes. (Dkts. 71-3; 118 at 15:6-20:23; 33:2-33:25.) In relevant part,

the evidence introduced at the hearing showed that, on March 24, 2020,

LHP Pharma paid Ark Medical Solutions $2.8 million. (Dkts. 71-4; 95-

1.) At the time it received the deposit, Ark Medical Solutions had a

balance of just $6,297.33.   (Dkt. 95-1.)   On March 25, Ark Medical

Solutions transferred $2.7 million of that money to A Rose RE. (Dkt. 95-


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2.) Because A Rose RE had a negative balance before the transfer, the

$2.7 million deposit left A Rose RE with a balance of $2,590,114.91. (Id.)

On March 26, A Rose RE transferred $1 million to a company called

Realogy Holding Corp. as an initial payment for the Boca Raton property.

(Dkt. 95-2.)5

     Agent Ryskoski testified that, in exchange for the payment of $2.8

million, Defendant delivered LHP Pharma $1.5 million worth of PPE.

(Dkt. 118 at 33:14–19.)    The United States thus concedes that $1.5

million of the $2.8 million payment from LHP Pharma was not part of

Defendant’s fraudulent scheme—or to use the parties’ words, $1.5 million

was “untainted” by the fraud. (Dkt. 135 at 18:22–19:8.) The United

States further concedes the $1 million payment A Rose RE made to

Realogy on March 26 was untainted. This means that the initial $1

million paid for the Boca Raton property is not traceable to proceeds of

the fraud.

     None of the remaining $500,000 that A Rose RE received went to

the purchase of the Boca Raton property. Instead, bank records show



5 Agent Ryskoski testified Realogy “was one of the entities where money

was sent to purchase the house.” (Dkt. 118 at 21:6–8.)

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that, following the $1 million payment, A Rose RE paid various amounts

to unrelated entities until its account balance went negative on March

27. (Dkts. 71-3; 95-2.) Defendant acknowledged this reality at the final

hearing. (Dkt. 135 at 33:7–25.) Specifically, he agreed with the Court’s

conclusion that, assuming “the $1 million that went to the Realogy

Holdings was 100 percent legitimate, . . . [y]ou still can’t carry the

$500,000 remaining untainted balance past the point where that account

hits zero. And that occurs on 3/27, according to [the A Rose RE records].

So by that time, any untainted funds are out of the account.” (Id.)

     LHP Pharma made a second, $8.25 million payment to Ark Medical

Solutions on March 31. (Dkts. 71-3; 71-4; 95-1.) Defendant has presented

no evidence—and really does not contend—any of this money was

untainted. The next day, Ark Medical Solutions paid Realogy another $1

million towards the purchase of the Boca Raton property. (Dkts. 71-3;

71-4; 95-1.) On May 1, LHP Pharma made a final payment to Ark

Medical Solutions of $2.5 million.      (Dkts. 71-3; 71-4; 95-1.)   Again,

Defendant does not argue this money was untainted. Then, on May 4,

Ark Medical Solutions paid the rest of the money making up the

approximately $5.3 million down payment for the purchase of the Boca


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Raton property. (Dkts. 71-3; 71-4; 95-1.)

                 b)   M. House Pty. Ltd.

     On March 13, 2020, M. House Pty. Ltd. wired $179,985 to the A

Rose RE account. The wire detail indicated that the money was for the

purchase of “Halyard masks and gowns.” (Dkts. 71-4; 95-2; 118 at 30:22–

31:4.) Agent Ryskoski testified that, because M. House is in Australia,

he had not been able to speak with one of its representatives. (Id. 30:22-

25.) But a representative from Halyard told him Defendant could not

have shipped the products listed on the wire detail to Australia. (Dkt.

118 at 30:16–31:4.) Special Agent Ryskoski thus concluded M. House was

a victim of Defendant’s scheme when it wired A Rose RE $179,985.

     The Court concludes Defendant has failed to show he is entitled to

some return of the substitute res as a result of this payment. The Court

credits Agent Ryskoski’s testimony that M. House did not (and could not)

have receive the products for which it paid Defendant $179,985 on March

13, 2020. Agent Ryskoski was a credible witness and he explained the

basis for his conclusion. Defendant did not really challenge that. Rather,

Defendant showed that Ark Medical paid M. House $200,000 on April 1,

2020. (Dkt. 95-1.) Defendant characterized this as a “refund.” (Dkt. 118


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at 40:23–22.) That payment does not undermine the United States’s

probable cause argument, as Defendant offered no evidence to support

his characterization. But, even if Defendant refunded the money, that

would simply mean none of the money Defendant received from M. House

went toward the purchase of the Boca Raton property (or could be

included in the substitute res). So, Defendant’s characterization of the

April 1 payment as a “refund” would not entitle him to the return of any

portion of the substitute res.

     Bank records introduced by the United States also show none of the

$179,985 from M. House went towards the purchase of the property.

Before M. House sent A Rose RE the $179,985 on March 13, A Rose RE’s

account had a negative balance of $97,070.09.        (Dkt. 95-2.)    After

receiving that money, A Rose RE wired all of it to other entities, leaving

its account with a negative balance of $51,085.09 by the end of the same

day. (Dkt. 95-2.) So, Defendant has not shown any of the money received

from M. House went towards the purchase of the Boca Raton property or

could possibly be included in the substitute res.

                 c)    TX Private Wealth, LLC

     On April 29, 2020, TX Private Wealth, LLC (on behalf of a company


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called Bold International, Inc.) wired $229,275.20 to the Ark Medical

Solutions account for the purchase of medical supplies. (Dkts. 71-3; 71-

4; 95-1; 118:8–16.) Agent Ryskoski testified that, in exchange, TX Private

Wealth “received product totaling approximately $20,000.” (Dkt. 118 at

32:1–3.) Accordingly, the United States considers only the remainder of

that deposit—$209,587.70—to be derived from the alleged fraud. (Dkts.

71-3.)6 From this, the Court accepts that the difference—$19,687.50—is

not traceable to the proceeds of the unlawful activity. But, there is no

evidence this money went towards the purchase of the Boca Raton

property. Ark Medical Solutions spent more than $1.6 million from this

account within days of receiving this money and more than $4 million

more before the final payments on May 4, 2020 for the purchase of the

property. During that same time—and as explained above—the company

received $2.5 million from LHP Pharma as part of its fraudulent activity.

(Dkt. 95-1 at 3.) In the light of this churning of the account, Defendant

has not shown the $19,687.50 he received on April 29 was part of the final



6 The United States’s spreadsheet separately lists the $209,587.70 under

“Deposits” paid by “Victims.” (Dkt. 71-3.) The other $19,687.50—for
which TX Private Wealth received product—is listed under “Other.”
(Dkt. 71-3.)

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payments on May 4.

      Defendant does not challenge this. Instead, Defendant presented

testimony from Brandon Davis, one of the owners of TX Private Wealth,

that Defendant provided (and was paid for) $117,570 worth of PPE in a

separate transaction. (Dkt. 117 at 18:14–19:22.) Specifically, Davis said

he served as a middleman between Defendant (who provided PPE) and a

company called MJG (that received and paid for the PPE) because

Defendant did not want to work with MJG directly due to some

unidentified conflict. (Dkt. 117 at 18:25–19:11.) Defendant says he is

entitled to this money and that it is “reflected” in his bank transactions.

(Dkt. 95 at 8.)

      The Court disagrees. As a threshold matter, the only entry showing

a payment from TX Private Wealth to Defendant is the wire transfer of

$229,275.20 discussed above. (Dkt. 95-1.) There is no evidence (other

than Davis’s testimony) that TX Private Wealth made a separate,

legitimate payment of $117,570.      And the Court found Davis highly

uncredible. He told a long and incoherent story about the transaction,

referred to Defendant alternatively as a “supplier” and a “distributor,”

admitted the money was paid to conceal the supplier, and could provide


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few details. (Dkt. 117.) In addition, he introduced an alleged invoice for

the transaction. (Dkt. 93-2.) It indicates a wire to the Ark Medical

Solutions account at issue on or about April 23, 2020 for $117,570. (Id.)

But, as already discussed, the bank records contain no evidence Ark

Medical Solutions received that wire. (Dkt. 95-1.) Davis’s credibility was

far too lacking to override the absence of evidence in the bank records.

Defendant thus has not shown this money was ever received let alone

that it went to the purchase of the Boca Raton property.

                 d)    Conclusion Regarding Proceeds Forfeiture

     Defendant has shown the lack of probable cause to believe the

initial payment of $1 million for the Boca Raton property is forfeitable as

proceeds of the fraudulent activity. He has failed, however, to show the

other payments he identified either were not the proceeds of fraudulent

activity and/or that the money went into the purchase of the property.

He is not entitled to the return of those funds.

           2.    “Involved In” Theory of Forfeiture

     Because the Court has concluded there is probable cause to believe

all but $1 million of the substitute res is forfeitable as proceeds of the

wire fraud scheme, the only remaining question is whether Defendant


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has shown the absence of probable cause to conclude the $1 million initial

payment for the property is forfeitable as having been “involved in” the

money laundering scheme or traceable to property “involved in” that

scheme.

     The United States contends that, because the untainted money was

commingled with proceeds of the alleged fraud for the purchase of the

Boca Raton property, that money was “involved in” money laundering

and is forfeitable under 18 U.S.C. § 982(a)(1).     (Dkt. 100 at 11–13.)

Specifically, the United States says because Defendant commingled the

untainted money with tainted money (both in his bank account and in

purchasing the property), the untainted funds “facilitate[d]” money

laundering and are thus forfeitable. (Dkt. 100 at 11.) Defendant says

little in response to the United States’s theory. He argues that because

the money was commingled, and “the overwhelming majority of the

transactions have no relation to the alleged fraud,” the assets cannot be

easily divided, and Defendant is entitled to recover all the funds. (Dkt.

95 at 15–16.) He also says the money laundering charges fail (an issue

that is pending as part of his motion to dismiss), so the funds could not

have been involved in those offenses. (Dkt. 135 at 69:13–19.) Defendant’s


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position does nothing to assist the Court in reaching a decision.

     Still, the Court rejects the United States’s contention that the mere

comingling of funds warrants the forfeiture of untainted funds

particularly when—as here—the untainted funds can be easily traced

and “un-mingled.” The United States relies on SEC v. Lauer, 2009 WL

812719 (S.D Fla. March 26, 2009), and United States v. Ward, 197 F.3d

1076 (11th Cir. 1999), for the proposition that “when money is

commingled, the illicitly-acquired funds and the legitimately-acquired

funds cannot be distinguished from each other.” (Dkt. 100 at 8.) Those

cases do not really speak to the issue before this Court. The defendant

in Lauer sought the release of cash held in a brokerage account from a

previous sale of stock. The Court concluded that any “untainted” funds

had been washed out of his brokerage account through a prior transaction

and had not been used to purchase the stock at issue. 2009 WL 812719

at *5. The court in that case specifically held that it was “not a case of

mere commingling of tainted and untainted funds in an account.” Id. at

*5. And Ward addressed the issue of whether the United States was

required to trace illegal proceeds as part of substantive money laundering

charges under 18 U.S.C. § 1956. 197 F.3d at 1078–79. In rejecting that


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idea, the Eleventh Circuit held the money laundering statute “permits

convictions where the funds involved in the transaction are derived

from a commingled account of which only a part comes from ‘specified

unlawful activities.’” Id. at 1082 (emphasis added). This matter involves

a forfeiture statute.

     The Eleventh Circuit’s decision in United States v. Puche, 350 F.3d

1137 (11th Cir. 2003) is more helpful. In that case, a defendant convicted

of money laundering drug proceeds appealed the forfeiture of untainted

funds that had been comingled with drug proceeds. The Eleventh Circuit

explained property is not “involved” in a money laundering offense simply

because it is commingled with tainted funds. It said “the mere pooling or

commingling of tainted and untainted funds in an account does not,

without more, render the entire contents of the account subject to

forfeiture.” Puche, 350 F.3d at 1153 (internal citations and quotations

omitted). Instead, “[f]orfeiture of commingled funds . . . is proper when

the government demonstrates that the defendant pooled the funds to

facilitate or ‘disguise’ his illegal scheme.” Id. The Court affirmed the

forfeiture determination based on evidence from which the jury could

have concluded the defendant commingled legitimate funds with the


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drug proceeds “to conceal the nature and source of the narcotics proceeds”

and that “the jury could have inferred that the legitimate proceeds

facilitated the illegal proceeds by acting as a ‘cover’ and hence reduced

suspicion of the latter’s source.” Id. at 1154. No evidence suggests the

$1 million Defendant received from LHP Pharma and almost

immediately wired out for the purchase of the Boca Raton property did

that.     In other words, there is nothing “more”—aside from its

commingling with tainted funds in the purchase of the property—that

renders that money forfeitable.

        The United States also relies on United States v. Kivanc, 714 F.3d

782 (4th Cir. 2013), in which the Fourth Circuit held that “[w]hen

legitimate funds are commingled with property involved in money

laundering . . . the entire property, including the legitimate funds, is

subject to forfeiture.” (Dkt. 100 at 11.) The Court rejects that argument

for several reasons. First, Kivanc is not binding and, to the extent is says

what the United States says it does, it conflicts with the Eleventh

Circuit’s decision in Puche. Second, Kivanc dealt with 18 U.S.C. § 981,

not § 982. Third, the authority Kivanc cited for that proposition similarly

dealt with different statutes and/or involved situations in which the


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untainted funds concealed the tainted funds. Kivanc, for example, cited

United States v. McGauley, 279 F.3d 62, 71 (1st Cir. 2002). But in that

case, the First Circuit upheld a district court instruction stating “the

commingling of tainted funds (mail fraud proceeds) with legitimate funds

is enough to expose the legitimate funds to forfeiture, if the commingling

was done for the purpose of concealing the nature or source of the tainted

funds.” Id. at 76 (emphasis added). The Kivanc court also cited United

States v. Baker, 227 F.3d 955 (7th Cir. 2020), a case in which the Seventh

Circuit upheld the forfeiture of untainted money that had been comingled

with tainted money upon evidence the untainted money “bankrolled” the

illegal money laundering operation. Id. at 969. Finally, the Kivanc court

cited the Eleventh Circuit’s decision in United States v. One Single

Family Residence, 933 F.2d 976, 981–82 (11th Cir. 1991). That case

involved a drug forfeiture statute and whether an innocent owner was

entitled to recover legitimate funds commingled with tainted property.

Id. Neither Kivanc nor the cases cited therein persuade the Court that

mere commingling is sufficient to consider untainted funds “involved” in

a money laundering offense.       As Puche instructs, there must be

something more.


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     In an effort to show “more,” the United States says (1) “the

untainted funds resulted . . . from [Defendant’s] misrepresentations that

caused [LHP Pharma] to send the payment” (Dkt. 135 at 64:17–20), and

(2) Defendant ultimately used both the untainted and tainted funds to

purchase the property (Dkt. 100 at 12–13). The United States’s first

argument is untenable given its concession that the initial $1 million was

untainted. The United States does not argue, for example, that the

money was used to conceal the alleged fraud (or proceeds from the fraud),

to convince LHP Pharma to spend more, or for any other purpose.7 The


7 The Court invited the United States to make such an argument even

though it was not included in its briefing. At the final evidentiary
hearing, the Court recognized the $1.5 million was not proceeds but
asked “is it property involved in the offense, because it is used to pay for
the gloves that were delivered in order to lull the victim into the bigger
payment?” (Dkt. 135 at 69:7–10.) The United States responded “Yes,
Your Honor.” (Dkt. 135 at 69:11.) But, when given an opportunity to
explore that theory further (and to present evidence about it), the United
States seemingly abandoned it, instead arguing that under the money
laundering conspiracy count “the fact that the money was transferred to
[A Rose RE], it still went to the house, so the house is still property
traceable to the money laundering offense.” (Dkt. 135 at 69:18–24.) The
United States then put on testimony about Defendant potentially
defrauding the company that ultimately provided the PPE he delivered
to LHP Pharma—not evidence about him using the $1.5 million delivery
to further defraud LHP Pharma or to otherwise advance the scheme. The
Court explained, “I still have trouble understanding how if you concede
that the . . . 1.5 went to the [A Rose RE] account, . . . how that money can
prime the ongoing fraud.” (Dkt. 135 at 76:20–23.) Counsel for the United
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United States’s second argument simply explains the commingling,

without explaining how it was involved in the illegal activity.

     As the Court already concluded, the mere fact untainted money was

commingled with tainted funds (into the purchase of the home) does not

mean—standing alone—the untainted money was involved in a money

laundering offense.8 The United States has simply failed to show “more.”

So, the Court concludes Defendant is entitled to recover $1 million.

III. Conclusion

     The Court ADOPTS IN PART and REJECTS IN PART the

Magistrate Judge’s R&R (Dkt. 39). The Court SUSTAINS IN PART and

OVERRULES IN PART Defendant’s Objections to the R&R (Dkt. 43).

The Court GRANTS Defendant’s Motion to Hire Counsel of Choice (Dkt.

23). The Court GRANTS IN PART and DENIES IN PART Defendant’s

Amended Motion to Release Seized Funds (Dkt. 30).                 The Court


States responded “it’s all just one scheme, the way the government sees
it . . . it’s involved in the scheme, so I think involved in is very broadly
defined as . . . facilitating.” (Dkt. 135 at 77:4–78:4.)
8 The United States also cites a case concluding a property purchased

with untainted money becomes forfeitable if tainted funds are used to
make improvements on the property or to pay property taxes or a loan on
the property. (Dkt. 100 at 11 (citing United States v. Miller, 295 F. Supp.
3d 690, 700 (E.D. Va. 2018).) That authority is not applicable here.

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ORDERS that $1,000,000.00 of the $4,915,704.39 held as substitute res

by the United States Marshals Services be returned to Defendant. The

Court DENIES AS MOOT Defendant’s Motion to Release Seized Funds

(Dkt. 24).

     SO ORDERED this 19th day of May, 2023.




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